Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 1 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 2 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 3 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 4 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 5 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 6 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 7 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 8 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                             Mortgage Page 9 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 10 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 11 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 12 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 13 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 14 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 15 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 16 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 17 of 18
Case 1-15-14310-cjf   Doc 25-4 Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                            Mortgage Page 18 of 18
